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Scott S. Christie                                 Erik Paul Belt
MCCARTER & ENGLISH, LLP                           Anne E. Shannon
Four Gateway Center                               MCCARTER & ENGLISH, LLP
100 Mulberry Street                               265 Franklin St.
Newark, New Jersey 07102-4056                     Boston, Massachusetts 02110
Tel: (973) 622-4444                               Tel: (617) 449-6500
schristie@mccarter.com                            ebelt@mccarter.com
rpatel@mccarter.com                               ashannon@mccarter.com

Attorneys for Plaintiff
Hayward Industries, Inc.

                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY


HAYWARD INDUSTRIES, INC.,                         Civil Action No. ____________

                       Plaintiff,
                                                  COMPLAINT AND
                  v.                              DEMAND FOR JURY TRIAL

R & P POOLS INC. d/b/a LEISURE
LIVING d/b/a POOLSUPPLIES.COM; FOUR
SEASONS POOL SUPPLY; AMZ POOL
SUPPLY; and SAVE MORE ON POOL
SUPPLIES;

                       Defendants.


                                         COMPLAINT

        Plaintiff Hayward Industries, Inc., accuses R & P Pools Inc. d/b/a Leisure Living d/b/a

Poolsupplies.com as well as Four Seasons Pool Supply, AMZ Pool Supply, and Save More on

Pool Supplies (collectively, “Leisure Living” or “Defendants”), of false advertising, trademark

infringement, counterfeiting, passing off, false designation of origin, unfair competition, and

related claims, all in violation of the Lanham Act (15 U.S.C. § 1051 et seq.), as well as violation

of New Jersey statutory and common law, and for infringement of Hayward’s copyright-

protected works in violation of the Copyright Act, (17 U.S.C. § 101 et seq.).



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                                          THE PARTIES

        1.        Hayward is a New Jersey corporation having its principal place of business at 400

Connell Drive, Suite 6100, Berkeley Heights, New Jersey 07922.

        2.        R & P Pools Inc., d/b/a Leisure Living and d/b/a PoolSupplies.com (“Leisure

Living”) operates a retail website at https.www.poolsupplies.com. R & P Pools Inc. is a New

York corporation having its principal place of business at 574 Main Street, Tonawanda, New

York 14150.

        3.        Four Seasons Pool Supply is, on information and belief, a New York corporation

with a principal place of business at 532 Main Street, Tonawanda NY 14150. Four Seasons is

either a company that is wholly owned and/or controlled by Leisure Living or is merely another

d/b/a of Leisure Living that is an Amazon “storefront” for Leisure Living.1

        4.        Save More on Pool Supplies is, on information and belief, a New York

corporation with a principal place of business at 532 Main Street, Tonawanda NY 14150. Save

More on Pool Supplies is either a company that is wholly owned and/or controlled by Leisure

Living or is another d/b/a of Leisure Living that is an Amazon storefront for Leisure Living.

        5.        AMZ Pool Supply is, on information and belief, a New York corporation with a

principal place of business at 532 Main Street, Tonawanda NY 14150. AMZ Pool Supply is

either a company that is wholly owned and/or controlled by Leisure Living or is another d/b/a of

Leisure Living that is an Amazon storefront for Leisure Living.2



1
  An Amazon “storefront” is a section of Amazon.com devoted to one particular seller’s
products—in this case, a collection of pool equipment—and can be used to mask the true identity
of the seller or to allow a seller to segment its product lines by price point or other features.
2
  Because all of the defendants appear to be closely related to, or owned or controlled and
operated by R and P Pools, or are all d/b/a’s of R and P Pools, all defendants will be referenced
as, collectively, “Leisure Living” (the primary d/b/a for R & P Pools Inc.) or “Defendants.”
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                                  JURISDICTION AND VENUE

        6.        This action arises under federal law, in particular, under the Lanham Act §§ 32(1)

and 43(a) (15 U.S.C. §§ 1114(1) and 1125(a)) and the Copyright Act, 17 U.S.C. § 101, et seq.

As such, this Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §§ 1331

(federal question) and 1338 (patent, trademark, copyright, and unfair competition cases).

        7.        This case also arises under the statutory and common law of New Jersey.

Pursuant to 28 U.S.C. § 1367, this Court has supplemental jurisdiction over the state law claims

because they arise from, or from part of, the same case or controversy as the Copyright Act and

Lanham Act claims.

        8.        This Court has personal jurisdiction over Leisure Living because Leisure Living

has regularly engaged in business in this District and has purposefully targeted its unlawful

business activities to the residents of this District by, for example, falsely advertising, offering

for sale, and selling infringing, counterfeit products in New Jersey and publishing the infringing

copyrighted works in New Jersey. For instance, Leisure Living advertises, offers for sale, and

sells the infringing products, and displays the copyrighted works, through its own interactive,

retail website, www.poolsupplies.com.          Leisure Living does not place any geographic

restrictions on who can buy its products from these on-line retail sites. Indeed, when a customer

wants to buy a product from the PoolSupplies.com website and goes to the checkout feature and

enters address information in the various fields, the customer can select “New Jersey” from a

drop-down menu, and “New Jersey” is auto-populated in the required “State” field. See screen

shot below. As such, these products are made available to New Jersey residents.




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        9.        Jurisdiction is also proper because Leisure Living sells its products via national,

online retailers like Amazon.com, eBay, Jet, and Walmart. For instance, Leisure Living operates

“storefronts” on Amazon, including Four Seasons Pool Supply, Save More on Pool Supplies, and

AMZ Pool Supply. Infringing ads are displayed, and infringing products sold, via these

storefronts and retail platforms to anyone in the country, including residents of New Jersey.




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        10.       Venue is proper under 28 U.S.C. § 1391(b) and (c) because a substantial part of

the events or omissions giving rise to Hayward’s claims has occurred in this District, Hayward is

based in this District, and because Leisure Living is subject to this Court’s personal jurisdiction,

as alleged above.

                                   FACTUAL BACKGROUND

        A.        Introduction

        11.       Hayward is a leading manufacturer of equipment for commercial and residential

swimming pools, such as automated pool cleaning machines, chlorination systems, pumps,

heaters, and filters, among other products. Hayward has been in business for over 80 years and

is one of the largest manufacturers and sellers of residential pool equipment in the world.

Among Hayward’s popular and profitable products is the AQUABUG®, NAVIGATOR®,

SHARKVAC BY HAYWARD®, and AQUANAUT® automated underwater cleaning machines

for swimming pools. Also popular and very commercially successful are the T-CELL line of salt

cells, which are used in chlorine generation systems. HAYWARD® AQUABUG®                         and

NAVIGATOR® underwater cleaning machines, and T-CELL salt cells, have been on the market

for over 20 years, and Hayward has sold a substantial number of the these products during this

time.

        12.       By way of example, shown below is a HAYWARD® AQUABUG® cleaning

machine, as depicted in a Hayward marketing brochure. These underwater cleaners are still in

high demand and sold today.




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        13.       Given the strong commercial success of Hayward’s pool cleaners and other pool

equipment, Leisure Living has chosen to counterfeit them and to unfairly trade on Hayward’s

popularity and goodwill. For example, Leisure Living has advertised and sold HAYWARD®

AQUABUG®, NAVIGATOR®, SHARKVAC BY HAYWARD®, and AQUANAUT® pool

cleaners but then has refitted the products with unauthorized replacement parts, which, being

unauthorized, are material alterations of the products.

        14.       Leisure Living has falsely advertised and passed off these altered pool cleaning

machines as genuine HAYWARD® pool cleaning products. For example, when a consumer

searches on the Leisure Living websites (such as www.poolsupplies.com) for a HAYWARD®

AQUABUG® underwater cleaning machine, he or she is instead directed to the altered

underwater cleaning machine that, in all respects, appears to be a genuine “HAYWARD®

AQUABUG®” machine or sponsored or certified by Hayward, but, in fact, is a counterfeit. The

screenshot below shows search results on www.poolsupplies.com for Hayward pool cleaners:




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        15.       These searches link to false and misleading advertisements for the counterfeit

products.     In one example below, the product is advertised and represented as a genuine

HAYWARD® SHARKVAC BY HAYWARD® pool cleaner but actually contains unauthorized

“Certified Refurbished” parts. While the ad prominently displays the Hayward trademarks, it

does not say that Hayward neither certifies nor endorses these “Certified Refurbished” products.




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https://www.poolsupplies.com/product/haywardreg-sharkvac-xl-certified-refurbished
(accessed March 5, 2020).

        16.       Leisure Living’s acts are likely to cause, and have caused, confusion in the

marketplace, and Hayward and its reputation as one of the world’s leading pool equipment

manufacturers will be harmed. Accordingly, Hayward seeks relief under the Lanham Act, as

well as under applicable state and common law, for false advertising, trademark infringement,

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trademark counterfeiting, passing off, false designation of origin, unfair competition, and other

related claims.

        17.       Adding to the confusion and misconduct, Leisure Living markets, advertises, and

sells these products with copies of Hayward’s user/owner manuals, instructional manuals,

brochures, warranties and the like, without Hayward’s permission or authorization. As a result,

Hayward seeks relief under the Copyright Act as well other state and common law.

        B.        Hayward’s Products and Trademark Rights

        18.       Hayward owns a family of HAYWARD-formative marks, including the federally-

registered HAYWARD® mark, Reg. No. 3,969,301, claiming use in commerce since 1956 in

connection with various swimming pool equipment, including, inter alia, automatic pool

cleaners and underwater pool cleaning machines. This trademark was registered on May 31,

2011, and, by virtue of years of continuous and uncontested use, is incontestable under 15 U.S.C.

§ 1065. HAYWARD® serves as the house mark for Hayward’s extensive collection of pool

equipment products. A copy of the registration certificate for the HAYWARD mark is attached

as Exhibit A.

        19.       Since at least as early as 1997, Hayward has owned and used the trademark

AQUABUG®, U.S. Reg. No. 2,184,852, in connection with underwater swimming pool cleaning

machines. The mark was registered on August 25, 1998, and, by virtue of years of continuous

and uncontested use, has become incontestable under 15 U.S.C. § 1065.            A copy of the

registration certificate for the AQUABUG® mark is attached as Exhibit B.

        20.       Hayward also owns the federally-registered mark AQUANAUT®, U.S. Reg. No.

4,993,931, claiming use in commerce since at least as early as 2015 in connection with automatic

swimming pool cleaners. The mark was registered on July 5, 2016, and, by virtue of years of


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continuous and uncontested use, has become incontestable under 15 U.S.C. § 1065. A copy of

the registration certificate for the AQUANAUT® mark is attached as Exhibit C.

        21.       Hayward likewise owns the federally-registered mark SHARKVAC BY

HAYWARD®, U.S. Reg. No. 4,023,757, claiming use in commerce since as least as early as

2010 in connection with underwater swimming pool cleaning machine. The mark was registered

on September 6, 2011, and, by virtue of years of continuous and uncontested use, has become

incontestable under 15 U.S.C. § 1065. A copy of the registration certificate for the SHARKVAC

BY HAYWARD® mark is attached as Exhibit D.

        22.       Hayward owns the federally-registered mark NAVIGATOR®, U.S. Reg. No.

2,124,181, claiming use in commerce since at least as early as 1996 in connection with

underwater swimming pool cleaning machines. The mark was registered on December 23, 1997,

and, by virtue of years of continuous and uncontested use, has become incontestable under 15

U.S.C. § 1065. A copy of the registration certificate for the NAVIGATOR® mark is attached as

Exhibit E.

        23.       Moreover, Hayward owns the federally-registered mark PERFLEX®, U.S. Reg.

No. 2,055,038, claiming use in commerce since at least as early as 1971 in connection with

swimming pool filters. The mark was registered on April 22, 1997, and, by virtue of years of

continuous and uncontested use, has become incontestable under 15 U.S.C. § 1065. A copy of

the registration certificate for the PERFLEX® mark is attached as Exhibit F.

        24.       Furthermore, Hayward owns the federally-registered mark AQUARITE®, U.S.

Reg. No. 3,704,835, claiming use in commerce since as early as 1997 in connection with

electrolytic chlorine generation systems for use with swimming pools and spas. The mark was

registered on November 3, 2009, and, by virtue of years of continuous and uncontested use, has


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become incontestable under 15 U.S.C. § 1065. A copy of the registration certificate for the

AQUARITE® mark is attached as Exhibit G.

        25.       Hayward also owns the federally-registered mark T-CELL-15®, U.S. Reg. No.

6,085,079, claiming use in commerce since as early as 2009 in connection with electrolytic

chlorine generators for use with swimming pools and spas. The mark was registered on June 23,

2020, and, by virtue of years of continuous and uncontested use, has become incontestable under

15 U.S.C. § 1065. A copy of the registration certificate for the T-CELL-15® mark is attached as

Exhibit H.

        26.       Over the years, Hayward has invested substantial money, time, and effort in the

development, engineering, manufacturing, marketing, advertising, and sale of the products

bearing the above-listed trademarks (the “Hayward Marks”).

        27.       By virtue of Hayward’s continuous use of the Hayward Marks on and in

connection with Hayward’s pool equipment, by virtue of Hayward efforts and money spent

marketing and promoting these products, and by virtue of the high quality of the products,

consumers have come to identify the Hayward Marks with Hayward’s high quality pool

equipment, which have generated substantial goodwill in these marks and associated products.

        28.       As a result of that goodwill, the products associated with these Hayward Marks

command premium prices in the market, and Hayward has sold a substantial number of these

pool-related products over the years.

        C.        Hayward’s Copyright-Protected Materials

        29.       Hayward is the owner of all rights of copyright in and to various brochures, user

manuals, technical specification sheets, marketing materials, instructional videos, and warranties

for the NAVIGATOR®, SHARKVAC BY HAYWARD®, AQUANAUT®, AQUABUG®,


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PERFLEX®, and AQUARITE® products. Hayward has obtained copyright registrations for these

works. Below is a table showing the registration information for each work.

   Title of Work                         Registration No.                Registration Date
Navigator Pro Sell Sheet                  TX 8-880-012                      June 29, 2020

Hayward Owner’s Manual 2                   TX 8-880-173                       July 2, 2020
Wheel and 4 Wheel Suction
Side Pool Cleaners

Hayward Owner’s Manual                     TX 8-880-170                       July 2, 2020
AQUABUG / DIVER DAVE /
WANDA THE WHALE /
AQUACRITTER       Above-
Ground  Automatic   Pool
Cleaner

Hayward Owner’s Manual                     TX 8-881-738                       July 2, 2020
Perflex     Extended Cycle
Filtration System

SharkVac Series Sell Sheet                 TX 8-881-935                       June 29, 2020

Hayward Pool Vac XL,                       TX 8-882-027                       July 2, 2020
Navigator Pro, Pool Vac
Classic, Owner’s Manual

AquaNaut 200        &         400          PA 2-248-359                       July 14, 2020
Automatic     Suction        Pool
Cleaner Video

Owner’s Guide Sandmaster                   TX 8-882-962                       July 2, 2020

SharkVac    by          Hayward            TX 8-883-187                       July 10, 2020
Owner’s Manual



True and correct copies of the registration certificates are attached hereto as Exhibit I.

        30.       The above-described copyright registrations covering the above-listed works were

issued to Hayward by the United States Copyright Office (the “Hayward Copyrights”).



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        31.       Hayward has duly complied with all relevant requirements of the Copyright Act

with respect to the Hayward Copyrights.

        D.        The Market for Underwater Cleaning Machines

        32.       Hayward sells underwater and automatic pool cleaners and related accessories

bearing the Hayward Marks through various distribution channels, including through local and

national pool equipment retailers (both brick-and-mortar and on-line) and, in particular, through

national on-line retailers like Amazon.com, and other authorized dealer websites.

        33.       Leisure Living operates an on-line retailer (www.poolsupplies.com) that sells

various products for pools and spas, including underwater pool cleaning machines. Leisure

Living, however, competes unfairly by falsely advertising its underwater cleaning machines, by

infringing Hayward’s trademarks, and by otherwise improperly trading on Hayward’s brand

identity and goodwill.

        34.       Leisure Living is not an authorized online reseller for any Hayward product and is

not authorized to use the Hayward Copyrights nor the Hayward Marks.

        E.        Leisure Living’s Willful Deceit and Unfair Competition

        35.       When a potential customer searches online for HAYWARD pool cleaning

machines, for example in a Google search or on www.poolsupplies.com, the customer is instead

directed to the infringing counterfeit products.       For example, the search terms “Hayward

automatic pool cleaners” on www.poolsupplies.com produced the following results:




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        36.       As seen above, the very first results showcase the counterfeit HAYWARD® pool

cleaning machines. When a customer or potential customer clicks on the advertisement, he or she

is redirected to, for example, the following ads (annotated to point out use of the Hayward

Marks):




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See collection of advertisements attached hereto as Exhibit J.

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        37.       The products listed on the website above are advertised as a “HAYWARD®

AQUANAUT®” or “SHARKVAC BY HAYWARD®” pool cleaner but is actually a counterfeit

of a Hayward AQUANAUT® and SHARKVAC BY HAYWARD® pool cleaner.                               See also

Exhibit J (collection of other similar advertisements for the Hayward Marks).

        38.       As seen above, these products are advertised as “Certified Refurbished,” and the

prominent use of the Hayward Marks makes it seem as if the products are sponsored or certified

by Hayward. The ads claim, for example, that “this product meets the same functional standards

as a new HAYWARD® AQUANAUT®.” Additional examples can be seen in the collection of

ads compiled in Exhibit J.

        39.       Although these pool cleaners are advertised as “HAYWARD” products, and

despite the fact that these advertisements (and the labels on the products) prominently display

the Hayward Marks, they are actually materially altered with unauthorized parts and service and

thus are not genuine Hayward products.

        40.       Moreover, the claim that these pool cleaners are “Certified Refurbished,”

“Rebuilt” or “Repaired” is false or misleading and suggests an affiliation with Hayward. But

Hayward neither certifies nor authorizes the refurbishment of these cleaners and is not affiliated

with Leisure Living.

        41.       Leisure Living further contributes to consumer confusion by failing to detail in its

advertising materials the standards by which its pool cleaners are “Certified Refurbished” or

“Rebuilt.” For instance, Leisure Living has not specified whether it is using Hayward-authorized

and quality-approved parts to repair or refurbish these pool cleaners or, instead, is using poor

quality or unauthorized parts. Regardless, Leisure Living is materially altering and selling

HAYWARD®           AQUANAUT®,         NAVIGATOR®,         AQUABUG®,        and   SHARKVAC         BY


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HAYWARD® pool cleaners that are no longer genuine or Hayward-approved products. Leisure

Living’s flooding the market with these unauthorized “Certified Refurbished” pool cleaners will

likely harm Hayward’s reputation as a manufacturer of high quality pool products.

        42.       In addition to materially altering the pool cleaning Hayward Marks by replacing

or repairing parts or otherwise “refurbishing” them without authorization from Hayward, Leisure

Living falsely advertises these products claiming “full testing that assures this product meets

functional standards as a new Hayward®” or “built with the highest-quality components” or

“repaired and/or restored to like-new state,” “verified to work properly,” “includes all essential

parts, features and accessories as a new Hayward” and “2 year limited warranty.”

        43.       Adding to the confusion, the ads for these products on the Leisure Living website

include a “Documents” tab that include PDFs of Hayward documents such as warranties, user

manuals and/or product brochures. These Hayward documents further create the impression that

the products are genuine and authorized Hayward products sold under the Hayward warranty.

But Hayward’s genuine warranties no longer apply to products refurbished or rebuilt by

unauthorized parties. Moreover, some of the posted warranties are outdated. Consequently,

consumers may seek to have Hayward honor the warranty on any of these products even though

they have unauthorized parts and thus are no longer under the warranty. In that event, Hayward

would be made to suffer from unwarranted consumer dissatisfaction, thus tarnishing its brand.

        44.       These advertisements suggest to consumers that Hayward has provided a warranty

with the product, particularly given that the product is often prominently identified as

“HAYWARD®,” as seen in the advertisements above and in Exhibit J. As one example, the

Documents tab for the SHARKVAC pool cleaner advertised on the Leisure Living website

includes the following Hayward warranty:


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        45.       By falsely advertising a “2 year limited warranty” and including a Hayward

warranty document and/or Hayward manual or brochure with the altered products (which

Hayward definitely does not warranty), Leisure Living is misleadingly suggesting that the altered

products are somehow genuine Hayward products covered under Hayward’s warranties.

Customers are thus likely to be confused and to contact Hayward when they have problems with

the altered pool cleaners. But because the product is not under the Hayward warranty, the

dissatisfied customers will hold that against Hayward and are likely to complain on Yelp.com or

other consumer ratings social media sites. Such confusion will harm Hayward’s goodwill and

reputation among Hayward’s current and prospective customers.

          46.     Additionally, Leisure Living advertises and sells Hayward’s AQUARITE® salt

chlorine generator. On the Leisure Living website under the Document tab for the AQUARITE ®


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the website includes several Hayward documents, unauthorized by Hayward, including a user

manual and “Technical Specifications.” The Technical Specifications document is an older

Hayward document for an older model and includes outdated information.

        47.       As a result, the AQUARITE® product is being sold with non-conforming

documents that constitute material alterations, thus rendering the product counterfeit. At the

least, the inclusion of out-of-date manuals will confuse customers and harm Hayward’s

reputation. Consumers who may have issues with the product, due to the outdated documents,

will be dissatisfied with Hayward and thus tarnish its brand.

        48.       By posting without Hayward’s permission, outdated Hayward documents

misleadingly suggests that the altered products are certified, sponsored or affiliated by Hayward.

Leisure Living is improperly trading on Hayward’s brand recognition and goodwill.

        F.        Leisure Living’s Acts of Copyright Infringement

        49.       Leisure Living has also copied, without Hayward’s authorization or permission,

Hayward’s user manuals, instruction sheets, brochures, and videos and has distributed these

materials on the www.poolsupplies.com website, thereby infringing the Hayward Copyrights in

order to unlawfully compete with Hayward.            Indeed, the brochures and manuals for the

“Certified Refurbished” HAYWARD® AQUANAUT®, SHARKVAC BY HAYWARD®,

NAVIGATOR®, and AQUABUG® are exact copies from Hayward.                       Notably, the text,

photographs, and artwork, images, and graphics contained in the Hayward Copyrights are used

by Leisure Living without Hayward’s permission. As seen below, these copyrighted works are

included under the “Documents” tabs of the product advertisements on the Leisure Living

website.




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        50.       In   addition,   Leisure   Living   also   copies   and   distributes   on   the

www.poolsupplies.com website unauthorized copies of Hayward Owner’s Manual PERFLEX®

Extended Cycle Filtration System, Automatic Chlorine Feeders Manuals, and AQUANAUT®

videos. The text, script, photographs, artwork images, graphics, editing, and animation contained

in the Hayward Copyrights are used by Leisure Living and are exact copies from Hayward. To

wit:




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        51.       Leisure Living’s unauthorized reproduction of Hayward’s copyrighted materials

has caused and will continue to cause irreparable harm to Hayward’s business and its long

standing goodwill.

        G.        Leisure Living’s Infringement via Its Amazon Storefronts

        52.       Leisure Living is also committing the same or similar acts of trademark

infringement, false advertising, unfair competition, and copyright infringement through its

Amazon Storefronts.

        53.       For example, via Leisure Living’s Amazon storefront, “Save More on Pool

Supplies,” Leisure Living advertises and sells Hayward products like the HAYWARD® T-

CELL-15® salt cell. Leisure Living advertises the T-CELL-15® salt cell as being sold by

Hayward. Upon on closer inspection, and as circled below, the product is actually sold and


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shipped by Save More on Pool Supplies. Moreover, although a customer would not know it

from the product headline, the product is used, not a new, genuine T-CELL-15 salt cell.




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https://www.amazon.com/Hayward-W3T-Cell-15-TurboCell-Chlorination-
Swimming/dp/B07SQ2NLCF/ref=sr_1_6?dchild=1&m=A2N5I30GK5BT1C&marketplaceID=A
TVPDKIKX0DER&qid=1595558524&s=merchant-items&sr=1-6&th=1
(accessed on July 23, 2020).

          54.     In the above advertisement, the product is advertised as it originated from

Hayward and includes information and statements “About Hayward,” “T-Cell-15” product, and

that it is “independently certified by the National Sanitation Foundation (“NSF”), which suggests

deceptively that this product originates from, or is endorsed or certified by, Hayward.

          55.     Because this salt cell is used, not new, and Leisure Living is not an authorized

online reseller for Hayward products, customers have purchased the product from Save More on

Pool Supplies and then have called Hayward, instead of Leisure Living, when the product broke.

To wit:




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        56.       In the above referenced reviews, the customers provided negative and dissatisfied

reviews. In the first review, the customer called Hayward, despite purchasing it from Leisure

Living’s Amazon storefront, Save More on Pool Supplies, to complain about the product failing

after one year. Although the product appeared to be an authentic Hayward product, it is not from

an unauthorized dealer and thus not covered under the warranty. Even though the customer

learned afterwards that Hayward products purchased from unauthorized dealers voids the

warranty, the customer was still disgruntled with Hayward.

        57.       In the second review, the confused customer purchased what appeared to be a

genuine and new Hayward product from Hayward. Upon opening the box, the box was marked

“not to be sold as new,” the serial numbers did not match the product and box, and the warranty

was misleading. These confusing advertisements result in unwarranted customer dissatisfaction

and tarnishes Hayward’s brand.

        58.       Also, via Leisure Living’s “Four Seasons Pool Supply” storefront, Leisure Living

advertises and sells HAYWARD AQUANAUT pool cleaners, similar to the ones sold on its own

website. Like the salt cell discussed above, these pool cleaners are used, but Leisure Living

passes off these pool cleaners as new products sold by Hayward, as seen in the following

example:



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https://www.amazon.com/Hayward-W3PHS21CST-AquaNaut-Automatic-
Cleaner/dp/B07SR4N4F6/ref=sr_1_12?dchild=1&keywords=%22four+seasons+pool+supply%2
2+hayward&m=A9HEF3NCNW35R&qid=1595462786&s=merchant-items&sr=1-12 (accessed
July 23, 2020).

        59.       In this example, the product is advertised as “by Hayward” and includes a link to

Hayward’s website. The headline of the ad and the product description includes the Hayward

trademarks and suggests that this a genuine, new Hayward pool cleaner. The product appears to

be, in all respects, a genuine, new Hayward product. But in fine print on the right of the ad, the

product is actually used and is sold by Four Seasons Pool Supply.

        60.       Because the product is used, it fails quickly and, due to the confusion created by

the ad, Hayward, not Leisure Living, gets blamed, as seen in the product reviews linked to this

ad. For example:




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        61.       Because the product is in a used condition and is sold by an unauthorized online

reseller (Leisure Living via its Four Seasons storefront), the warranty no longer applies. Thus,

the consumers are confused and, as seen above, blame Hayward, not Leisure Living.

        H.        Leisure Living’s Acts are Willful

        62.       Leisure Living has at least constructive knowledge of the Hayward Marks

because, inter alia, the Hayward Marks are registered on the principal federal register of

trademarks, thus providing at least constructive notice. Moreover, the Marks are incontestable

by virtue of years of continuous and uncontested use, and thus Leisure Living could not possibly

have a basis to challenge these marks. Also, Hayward is a pool industry giant, and it is thus

unlikely that Leisure Living which is also in the pool industry, would not know of Hayward and

its trademarks.

        63.       In addition, Hayward previously warned Leisure Living about the unfair and

deceptive conduct, as described above, and its copyright infringement. Specifically, in a letter

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dated March 25, 2020, Hayward advised Leisure Living that, by advertising and selling the

products under the Hayward Marks on its website with unauthorized third-party parts, it was

committing false advertising and unfair competition, among other violations under the Lanham

Act and the Copyright Act. Exhibit K, Letter from Erik P. Belt of McCarter English, LLP, to

Leisure Living, dated March 25, 2020.

        64.       Leisure Living has removed some of the infringing content but refuses to

acknowledge and respect Hayward’s trademarks and copyright-protected material including any

past damage the advertisements caused to Hayward’s reputation and good will.

        65.        As a result of these communications, Leisure Living has actual knowledge of the

infringing and counterfeit nature of the advertising and sale of the Hayward Marks and

Hayward’s copyright-protected material through its websites and on the Internet generally.

        66.       As a result of the above-described acts, Leisure Living takes advantages of, and

harms Hayward’s good will and reputation. These acts cause injury to Hayward’s reputation and

business interests.

        67.       Such conduct has and will continue to deprive Hayward of hundreds of thousands

of dollars in lost sales, good will, reputation, and diminish the value of Hayward’s valuable

intellectual property rights. Unless such conduct is enjoined, Leisure Living will severely inhibit

or destroy the identity of Hayward products as the exclusive source of goods to which the

Hayward Marks are affixed.

        I.        Leisure Living’s Improper Interference with Hayward’s Distribution
                  Agreements

        68.       Hayward sells many of its products, including the products mentioned above,

through a networks of authorized distributors and retailers. These agreements often include

limitations on resale of the products. For instance, in some cases, distributors may not sell

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certain products to retailers for resale over the internet to the general population because, for

example, the products are configured for professional use. In other cases, the foreign distributors

may not sell products to retailers for resale in the U.S.        In these cases, the products are

configured for sale in those foreign countries and to comply with foreign laws. As one example,

products configured for sale in Canada include instruction manuals and brochures written in both

French and English to comply with Canadian law.

        69.       Hayward has discovered that Leisure Living has obtained the Hayward products it

offers for sale on its website and through its Amazon storefronts from distributors who have

agreements restricting resale over the Internet or back into the United States. At least one of

these distributors is a Canadian company that may not distribute products for resale back into the

United States.

        70.       Hayward has warned Leisure Living in the past not to obtain such products for

sale in violation of the distribution agreements

        71.       But, on information and belief, Leisure Living has obtained Hayward products for

resale, including the products described above, by concealing from the distributors how and

where the products would be sold, thus causing the distributors to violate their agreements with

Hayward.

        72.       On top of that, Leisure Living is selling the products by infringing on Hayward’s

Marks and Copyrights, as detailed above, thus adding to the improper nature of the resales.




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                                                COUNT I
                                            False Advertising
                  in Violation of Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a)3

          73.       Hayward re-alleges and incorporates by reference Paragraphs 1-72 above as if

fully set out herein.

          74.       Hayward and Leisure Living compete in the market for pool cleaners and

equipment.

          75.       Leisure Living offers for sale, sells, and advertises in interstate commerce

purportedly genuine “Certified Refurbished” HAYWARD® AQUABUG®, NAVIGATOR®,

SHARKVAC BY HAYWARD®, and AQUANAUT® underwater cleaning machines for pools,

although in reality, these pool cleaners have been materially altered to contain unauthorized

repaired or refurbished parts rather than the original, authorized HAYWARD® AQUABUG®,

NAVIGATOR®, SHARKVAC BY HAYWARD®, and AQUANAUT® parts.

          76.       The advertisements for pool cleaners falsely or misleadingly suggest to consumers

that Hayward authorizes, warrants, or certifies the HAYWARD® AQUABUG®, NAVIGATOR®,

SHARKVAC BY HAYWARD®, and AQUANAUT® cleaners that Leisure Living sells with the

unauthorized parts.

          77.       Leisure Living claims that the products are “Certified Refurbished” are materially

false and/or misleading in that they are likely to influence consumers’ purchasing decisions

concerning pool cleaners.

          78.       These advertisements also claim that these products are subject to “full testing

that assures this product meets functional standards as a new Hayward®” or “built with the

highest-quality components” or “repaired and/or restored to like-new state,” “verified to work



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    All claims are asserted against all defendants, unless otherwise noted.
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properly,” “includes all essential parts, features and accessories as a new Hayward” and “2 year

limited warranty.” These claims are materially false and/or misleading in that it also is likely to

influence consumers’ purchasing decisions concerning underwater pool cleaners.

        79.       Leisure Living claims, falsely or misleadingly that the products are under

Hayward’s warranty or that they are a genuine HAYWARD® products are materially false and/or

misleading in that they are likely to influence consumers’ purchasing decisions concerning pool

cleaners.

        80.       Leisure Living’s advertisements and conduct are likely to deceive or confuse

consumers and will continue to do so unless the conduct is enjoined.

        81.       Leisure Living’s conduct is willful and deliberate, has injured Hayward, and will

continue to injure Hayward unless the conduct is enjoined.

        82.       Leisure Living knows or should have known that the ads are false and/or

misleading, particularly because Hayward has previously warned Leisure Living about such

claims on a previous occasion.

        83.       Leisure Living’s false and deceptive advertising violates Section 43(a) of the

Lanham Act, 15 U.S.C. § 1125(a).

        84.       Hayward has been, and continues to be, damaged by Leisure Living’s false and

deceptive advertising, including through (a) diversion of customers or potential customers for

replacement HAYWARD®, AQUABUG®, NAVIGATOR®, SHARKVAC BY HAYWARD®,

and AQUANAUT® pool cleaners; and (b) diminishing of the goodwill in the Hayward Marks.

        85.       Hayward has no adequate remedy at law to fully redress these injuries.




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                                              COUNT II
                    Federal Trademark Infringement of the HAYWARD® Mark
                  in Violation of Section 32(1) of the Lanham Act, 15 U.S.C. § 1114

        86.       Hayward re-alleges and incorporates by reference Paragraphs 1-85 above as if

fully set out herein.

        87.       Pursuant to 15 U.S.C. § 1057(b), Hayward’s certificate of registration for the

HAYWARD® registered mark is prima facie evidence of the validity of that registration,

Hayward’s ownership of the mark, and Hayward’s exclusive rights to use the mark in commerce

in connection with the goods identified in the registration.

        88.       Hayward’s federal trademark registration constitutes constructive notice to

Leisure Living of Hayward’s ownership and use of the registered mark in connection with the

goods identified in the registrations.

        89.       Leisure Living’s unauthorized use of the HAYWARD® mark, as summarized

above (e.g., on or in connection with the sale and promotion of the “Certified Refurbished”

HAYWARD®            AQUABUG®,        NAVIGATOR®,        SHARKVAC         BY    HAYWARD®,         and

AQUANAUT®               cleaners with unauthorized parts), as well as in connection with the

AQUARITE®, PERFLEX®, and T-CELL-15® products, is likely to cause consumers and

potential consumers to be confused, mistaken, and deceived as to the source, origin, sponsorship,

or approval by Hayward of Leisure Living’s products.

        90.       The above-described conduct constitutes trademark infringement in violation of

Section 32 of the Lanham Act, 15 U.S.C. § 1114(1).

        91.       Leisure Living’s conduct has caused, and is continuing to cause, irreparable injury

to Hayward, including to its reputation and goodwill, and Hayward has no adequate remedy at

law. Unless such unauthorized use is enjoined, Hayward will continue to be irreparably harmed.


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        92.       Leisure Living’s conduct, as described above, has been willful, wanton, reckless,

and in total disregard to Hayward’s rights.

        93.       By reason of Leisure Living’s misconduct, Hayward has suffered, and will

continue to suffer, monetary damages and loss of goodwill.

                                            COUNT III
                   Federal Trademark Infringement of the AQUABUG® Mark
                    in Violation of Section 32(1) of the Lanham Act, 15 U.S.C. § 1114

        94.       Hayward re-alleges and incorporates by reference Paragraphs 1-93 above as if

fully set out herein.

        95.       Pursuant to 15 U.S.C. § 1057(b), Hayward’s certificate of registration for the

AQUABUG® registered mark is prima facie evidence of the validity of that registration,

Hayward’s ownership of the mark, and Hayward’s exclusive rights to use the mark in commerce

in connection with the goods identified in the registration.

        96.       Hayward’s federal trademark registration constitutes constructive notice to

Leisure Living of Hayward’s ownership and use of the registered mark in connection with the

goods identified in the registrations.

        97.       Leisure Living’s unauthorized use of the AQUABUG® mark, as summarized

above (e.g., on or in connection with the sale and promotion of the “Certified Refurbished”

HAYWARD® AQUABUG® pool cleaners with unauthorized parts), is likely to cause consumers

and potential consumers to be confused, mistaken, and deceived as to the source, origin,

sponsorship, or approval by Hayward of Leisure Living’s pool cleaners.

        98.       The above-described conduct constitutes trademark infringement in violation of

Section 32 of the Lanham Act, 15 U.S.C. § 1114(1).




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        99.       Leisure Living’s conduct has caused, and is continuing to cause, irreparable injury

to Hayward, including to its reputation and goodwill, and Hayward has no adequate remedy at

law. Unless such unauthorized use is enjoined, Hayward will continue to be irreparably harmed.

        100.      Leisure Living’s conduct, as described above, has been willful, wanton, reckless,

and in total disregard to Hayward’s rights.

        101.      By reason of Leisure Living’s misconduct, Hayward has suffered, and will

continue to suffer, monetary damages and loss of goodwill.

                                              COUNT IV
                    Federal Trademark Infringement of the AQUANAUT® Mark
                  in Violation of Section 32(1) of the Lanham Act, 15 U.S.C. § 1114

        102.      Hayward re-alleges and incorporates by reference Paragraphs 1-101 above as if

fully set out herein.

        103.      Pursuant to 15 U.S.C. § 1057(b), Hayward’s certificate of registration for the

AQUANAUT® registered mark is prima facie evidence of the validity of that registration,

Hayward’s ownership of the mark, and Hayward’s exclusive rights to use the mark in commerce

in connection with the goods identified in the registration.

        104.      Hayward’s federal trademark registration constitutes constructive notice to

Leisure Living of Hayward’s ownership and use of the registered mark in connection with the

goods identified in the registrations.

        105.      Leisure Living’s unauthorized use of the AQUANAUT® mark, as summarized

above (e.g., on or in connection with the sale and promotion of the “Certified Refurbished”

HAYWARD® AQUANAUT®                   pool cleaners with unauthorized parts), is likely to cause

consumers and potential consumers to be confused, mistaken, and deceived as to the source,

origin, sponsorship, or approval by Hayward of Leisure Living’s pool cleaners.


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        106.      The above-described conduct constitutes trademark infringement in violation of

Section 32 of the Lanham Act, 15 U.S.C. § 1114(1).

        107.      Leisure Living’s conduct has caused, and is continuing to cause, irreparable injury

to Hayward, including to its reputation and goodwill, and Hayward has no adequate remedy at

law. Unless such unauthorized use is enjoined, Hayward will continue to be irreparably harmed.

        108.      Leisure Living’s conduct, as described above, has been willful, wanton, reckless,

and in total disregard to Hayward’s rights.

        109.      By reason of Leisure Living’s misconduct, Hayward has suffered, and will

continue to suffer, monetary damages and loss of goodwill.

                                              COUNT V
                   Federal Trademark Infringement of the NAVIGATOR® Mark
                  in Violation of Section 32(1) of the Lanham Act, 15 U.S.C. § 1114

        110.      Hayward re-alleges and incorporates by reference Paragraphs 1-109 above as if

fully set out herein.

        111.      Pursuant to 15 U.S.C. § 1057(b), Hayward’s certificate of registration for the

NAVIGATOR® registered mark is prima facie evidence of the validity of that registration,

Hayward’s ownership of the mark, and Hayward’s exclusive rights to use the mark in commerce

in connection with the goods identified in the registration.

        112.      Hayward’s federal trademark registration constitutes constructive notice to

Leisure Living of Hayward’s ownership and use of the registered mark in connection with the

goods identified in the registrations.

        113.      Leisure Living’s unauthorized use of the NAVIGATOR® mark, as summarized

above (e.g., on or in connection with the sale and promotion of the “Certified Refurbished”

HAYWARD® NAVIGATOR® pool cleaners with unauthorized parts), is likely to cause


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consumers and potential consumers to be confused, mistaken, and deceived as to the source,

origin, sponsorship, or approval by Hayward of Leisure Living’s pool cleaners.

        114.      The above-described conduct constitutes trademark infringement in violation of

Section 32 of the Lanham Act, 15 U.S.C. § 1114(1).

        115.      Leisure Living’s conduct has caused, and is continuing to cause, irreparable injury

to Hayward, including to its reputation and goodwill, and Hayward has no adequate remedy at

law. Unless such unauthorized use is enjoined, Hayward will continue to be irreparably harmed.

        116.      Leisure Living’s conduct, as described above, has been willful, wanton, reckless,

and in total disregard to Hayward’s rights.

        117.      By reason of Leisure Living’s misconduct, Hayward has suffered, and will

continue to suffer, monetary damages and loss of goodwill.

                                          COUNT VI
        Federal Trademark Infringement of the SHARKVAC BY HAYWARD® Mark
              in Violation of Section 32(1) of the Lanham Act, 15 U.S.C. § 1114

        118.      Hayward re-alleges and incorporates by reference Paragraphs 1-117 above as if

fully set out herein.

        119.      Pursuant to 15 U.S.C. § 1057(b), Hayward’s certificate of registration for the

SHARKVAC BY HAYWARD® registered mark is prima facie evidence of the validity of that

registration, Hayward’s ownership of the mark, and Hayward’s exclusive rights to use the mark

in commerce in connection with the goods identified in the registration.

        120.      Hayward’s federal trademark registration constitutes constructive notice to

Leisure Living of Hayward’s ownership and use of the registered mark in connection with the

goods identified in the registrations.




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        121.      Leisure Living’s unauthorized use of the SHARKVAC BY HAYWARD® mark,

as summarized above (e.g., on or in connection with the sale and promotion of the “Certified

Refurbished” SHARKVAC BY HAYWARD® pool cleaners with unauthorized parts), is likely

to cause consumers and potential consumers to be confused, mistaken, and deceived as to the

source, origin, sponsorship, or approval by Hayward of Leisure Living’s pool cleaners.

        122.      The above-described conduct constitutes trademark infringement in violation of

Section 32 of the Lanham Act, 15 U.S.C. § 1114(1).

        123.      Leisure Living’s conduct has caused, and is continuing to cause, irreparable injury

to Hayward, including to its reputation and goodwill, and Hayward has no adequate remedy at

law. Unless such unauthorized use is enjoined, Hayward will continue to be irreparably harmed.

          124. Leisure Living’s conduct, as described above, has been willful, wanton, reckless,

and in total disregard to Hayward’s rights.

                                             COUNT VII
                    Federal Trademark Infringement of the AQUARITE® Mark
                  in Violation of Section 32(1) of the Lanham Act, 15 U.S.C. § 1114

        125.      Hayward re-alleges and incorporates by reference Paragraphs 1-124 above as if

fully set out herein.

        126.      Pursuant to 15 U.S.C. § 1057(b), Hayward’s certificate of registration for the

AQUARITE® registered mark is prima facie evidence of the validity of that registration,

Hayward’s ownership of the mark, and Hayward’s exclusive rights to use the mark in commerce

in connection with the goods identified in the registration.

        127.      Hayward’s federal trademark registration constitutes constructive notice to

Leisure Living of Hayward’s ownership and use of the registered mark in connection with the

goods identified in the registrations.


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        128.      Leisure Living’s unauthorized use of the AQUARITE® mark, as summarized

above (e.g., on or in connection with the sale and promotion of the chlorine generation systems

products with material alterations), is likely to cause consumers and potential consumers to be

confused, mistaken, and deceived as to the source, origin, sponsorship, or approval by Hayward

of Leisure Living’s salt systems.

        129.      The above-described conduct constitutes trademark infringement in violation of

Section 32 of the Lanham Act, 15 U.S.C. § 1114(1).

        130.      Leisure Living’s conduct has caused, and is continuing to cause, irreparable injury

to Hayward, including to its reputation and goodwill, and Hayward has no adequate remedy at

law. Unless such unauthorized use is enjoined, Hayward will continue to be irreparably harmed.

        131.      Leisure Living’s conduct, as described above, has been willful, wanton, reckless,

and in total disregard to Hayward’s rights.

        132.      By reason of Leisure Living’s misconduct, Hayward has suffered, and will

continue to suffer, monetary damages and loss of goodwill.

                                             COUNT VIII
                     Federal Trademark Infringement of the PERFLEX® Mark
                  in Violation of Section 32(1) of the Lanham Act, 15 U.S.C. § 1114

        133.      Hayward re-alleges and incorporates by reference Paragraphs 1-132 above as if

fully set out herein.

        134.      Pursuant to 15 U.S.C. § 1057(b), Hayward’s certificate of registration for the

PERFLEX® registered mark is prima facie evidence of the validity of that registration,

Hayward’s ownership of the mark, and Hayward’s exclusive rights to use the mark in commerce

in connection with the goods identified in the registration.




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        135.      Hayward’s federal trademark registration constitutes constructive notice to

Leisure Living of Hayward’s ownership and use of the registered mark in connection with the

goods identified in the registrations.

        136.      Leisure Living’s unauthorized use of the PERFLEX® mark, as summarized above

(e.g., on or in connection with the sale and promotion of the filters with material alterations), is

likely to cause consumers and potential consumers to be confused, mistaken, and deceived as to

the source, origin, sponsorship, or approval by Hayward of Leisure Living’s filters.

        137.      The above-described conduct constitutes trademark infringement in violation of

Section 32 of the Lanham Act, 15 U.S.C. § 1114(1).

        138.      Leisure Living’s conduct has caused, and is continuing to cause, irreparable injury

to Hayward, including to its reputation and goodwill, and Hayward has no adequate remedy at

law. Unless such unauthorized use is enjoined, Hayward will continue to be irreparably harmed.

        139.      Leisure Living’s conduct, as described above, has been willful, wanton, reckless,

and in total disregard to Hayward’s rights.

        140.      By reason of Leisure Living’s misconduct, Hayward has suffered, and will

continue to suffer, monetary damages and loss of goodwill.

                                              COUNT IX
                     Federal Trademark Infringement of the T-CELL-15® Mark
                  in Violation of Section 32(1) of the Lanham Act, 15 U.S.C. § 1114

        141.      Hayward re-alleges and incorporates by reference Paragraphs 1-140 above as if

fully set out herein.

        142.      Pursuant to 15 U.S.C. § 1057(b), Hayward’s certificate of registration for the T-

CELL-15® registered mark is prima facie evidence of the validity of that registration, Hayward’s




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ownership of the mark, and Hayward’s exclusive rights to use the mark in commerce in

connection with the goods identified in the registration.

         143.     Hayward’s federal trademark registration constitutes constructive notice to

Leisure Living of Hayward’s ownership and use of the registered mark in connection with the

goods identified in the registrations.

         144.     Leisure Living’s unauthorized use of the T-CELL-15® mark, as summarized

above (e.g., on or in connection with the sale and promotion of the salt cells with material

alterations), is likely to cause consumers and potential consumers to be confused, mistaken, and

deceived as to the source, origin, sponsorship, or approval by Hayward of Leisure Living’s salt

cells.

         145.     The above-described conduct constitutes trademark infringement in violation of

Section 32 of the Lanham Act, 15 U.S.C. § 1114(1).

         146.     Leisure Living’s conduct has caused, and is continuing to cause, irreparable injury

to Hayward, including to its reputation and goodwill, and Hayward has no adequate remedy at

law. Unless such unauthorized use is enjoined, Hayward will continue to be irreparably harmed.

         147.     Leisure Living’s conduct, as described above, has been willful, wanton, reckless,

and in total disregard to Hayward’s rights.

         148.     By reason of Leisure Living’s misconduct, Hayward has suffered, and will

continue to suffer, monetary damages and loss of goodwill.


                                             COUNT X
                                Federal Trademark Counterfeiting
                  in Violation of Section 32 of the Lanham Act, 15 U.S.C. § 1114

         149.     Hayward re-alleges and incorporates by reference Paragraphs 1-148 above as if

fully set out herein.

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        150.       Hayward sells in interstate commerce pool cleaners and other pool equipment

bearing the HAYWARD® AQUARITE®, PERFLEX®, AQUABUG®, NAVIGATOR®,

SHARKVAC BY HAYWARD®, T-CELL-15® and AQUANAUT® federally registered marks.

Genuine HAYWARD® AQUABUG®, NAVIGATOR®, SHARKVAC BY HAYWARD®, and

AQUANAUT® pool cleaners, AQUARITE® chlorine generation systems, PERFLEX® filters,

and T-CELL-15® salt cells are expertly designed.            Given the high quality of these genuine

HAYWARD® products, and based on continuous use of the marks over many years, the

Hayward Marks have come to stand for high quality products and have developed substantial

goodwill. Consumers associate that high quality, reputation, and goodwill with a unique source,

namely, Hayward.

        151.       Without authorization, but with both constructive and actual knowledge of

Hayward’s superior rights in the Hayward Marks, Leisure Living is advertising, offering for sale,

and selling in interstate commerce counterfeit products bearing the Hayward Marks that are

confusingly similar and by packaging Hayward user manuals, brochures, and warranty

information and/or outdated technical specifications with the products. Leisure Living sells its

counterfeit products in direct competition with Hayward’s sale of genuine HAYWARD®

products and authorized replacement parts.

        152.       Leisure Living’s use of copies or simulations of the Hayward Marks on or in

connection with its products is likely to cause confusion, mistake, or deception as to the source

or origin of the cleaners or salt systems, thus deceiving consumers into believing that the

counterfeit       Leisure   Living pool   cleaners    are   genuine   HAYWARD®       AQUABUG®,

NAVIGATOR®, SHARKVAC BY HAYWARD®, AQUANAUT®, T-CELL-15®, AQUA




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RITE®, and PERFLEX® products or are otherwise authorized, sponsored by, or affiliated with

Hayward.

        153.      Leisure Living’s conduct has caused, and is continuing to cause, irreparable injury

to Hayward, including to its reputation and goodwill, and Hayward has no adequate remedy at

law. Unless such unauthorized use is enjoined, Hayward will continue to be irreparably harmed.

        154.      Leisure Living’s conduct, as described above, has been willful, wanton, reckless,

and in total disregard to Hayward’s rights.

        155.      By reason of Leisure Living’s misconduct, Hayward has suffered, and will

continue to suffer, monetary damages and loss of goodwill.

                                           COUNT XI
                     Unfair Competition and False Designation of Origin
             in Violation of Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a),
           by Unauthorized Use of the HAYWARD® AQUABUG®, NAVIGATOR®,
               SHARKVAC BY HAYWARD®, AQUANAUT®, AQUA RITE® ,
                            PERFLEX® , AND T-CELL-15® Marks

        156.      Hayward re-alleges and incorporates by reference Paragraphs 1-155 above as if

fully set out herein.

        157.      Hayward and Leisure Living compete in the market for pool equipment, including

pool cleaners, chlorine generation systems, pool filters, and salt cells.

        158.      Leisure Living’s unauthorized use of the Hayward Marks, as summarized above,

is likely to cause consumers and potential consumers to be confused, mistaken, and deceived as

to the source, origin, sponsorship, or approval by Hayward of Leisure Living’s products.

        159.      Leisure Living’s unauthorized use of the Hayward Marks, as described above,

constitutes unfair competition and false designation of origin in violation of Section 43(a) of the

Lanham Act, 15 U.S.C. § 1125(a).



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        160.      Leisure Living’s conduct has caused, and is continuing to cause, irreparable injury

to Hayward, including to its reputation and goodwill, and Hayward has no adequate remedy at

law. Unless such unauthorized use is enjoined, Hayward will continue to be irreparably harmed.

        161.      Leisure Living’s conduct, as described above, has been willful, wanton, reckless,

and in total disregard to Hayward’s rights.

        162.      By reason of Leisure Living’s misconduct, Hayward has suffered, and will

continue to suffer, monetary damages and loss of goodwill.

                                            COUNT XII
                       Unfair Competition and False Designation of Origin
               in Violation of Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a),
                                           by Passing Off

        163.      Hayward re-alleges and incorporates by reference Paragraphs 1-162 above as if

fully set out herein.

        164.      Hayward and Leisure Living compete in the market for pool equipment, including

pool cleaners, chlorine generation systems, pool filters, and salt cells.

        165.      Hayward advertises, offers for sale, and sells in commerce pool equipment

bearing the Hayward Marks.          The Hayward Marks appear on the product, on the on-line

advertising and marketing materials, including the user manuals and associated documents used

in connection with the sale and marketing of Hayward Marks and associated products.

        166.      As described above, Leisure Living advertises, offers for sale, and sells pool

equipment products that bear one or more of the Hayward Marks but that are materially different

from genuine HAYWARD® products. Leisure Living has materially altered the HAYWARD®

products by replacing the Hayward parts with unauthorized parts and/or by including with the

products outdated technical manuals and void warranties.



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        167.      Leisure Living actively promotes on its websites such as www.poolsupplies.com

and Amazon Storefronts pool cleaners as “refurbished” HAYWARD® AQUABUG®,

NAVIGATOR®, SHARKVAC BY HAYWARD®, and AQUANAUT® and HAYWARD® T-

CELL-15® salt cells when, in fact, they are counterfeit Leisure Living pool cleaners and/or salt

cells. Hayward has not authorized this conduct.

        168.      Such conduct constitutes passing off in violation of Section 43(a) of the Lanham

Act.

        169.      Leisure Living passing off is likely to cause confusion, mistake, or deception as to

the source or origin of the pool cleaners, and has diverted sales from Hayward.

        170.      Leisure Living’s conduct has caused, and is continuing to cause, irreparable injury

to Hayward, including to its reputation and goodwill, and Hayward has no adequate remedy at

law. Unless such unauthorized use is enjoined, Hayward will continue to be irreparably harmed.

        171.      Leisure Living’s conduct, as described above, has been willful, wanton, reckless,

and in total disregard to Hayward’s rights.

        172.      By reason of Leisure Living’s misconduct, Hayward has suffered, and will

continue to suffer, monetary damages and loss of goodwill.

                                              COUNT XIII
                         False Advertising in Violation of N.J.S.A. § 56:8-2 et seq.

        173.      Hayward re-alleges and incorporates by reference Paragraphs 1-172 above as if

fully set out herein.

        174.      Leisure Living sells and advertises pool cleaners and other pool equipment that

are consumer goods.

        175.      Leisure Living has engaged in trade or commerce in this state by advertising,

offering for sale, and selling pool cleaners in New Jersey.

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         176.     Through its above-described conduct of falsely or misleadingly advertising pool

cleaners and other pool equipment under the Hayward Marks, Leisure Living has used

unconscionable commercial practices, deception, fraud, and misrepresentation concerning the

nature of its pool cleaners with the intent that consumers reply on such fraud, deception, and

misrepresentation.

         177.     Leisure Living’s false advertising is likely to cause confusion, mistake, or

deception as to the source or origin of the pool cleaners and other pool equipment and/or

authorization or sponsorship by Hayward and, as such, has diverted sales from Hayward.

         178.     Leisure Living’s conduct has caused, and is continuing to cause, irreparable injury

to Hayward, including to its reputation and goodwill, and Hayward has no adequate remedy at

law. Unless such unauthorized use is enjoined, Hayward will continue to be irreparably harmed.

         179.     Leisure Living’s conduct, as described above, has been willful, wanton, reckless,

and in total disregard to Hayward’s rights.

         180.     By reason of Leisure Living’s misconduct, Hayward has suffered, and will

continue to suffer, monetary damages and loss of goodwill.

                                          COUNT XIV
                        Unfair Competition in Violation of N.J.S.A. § 56:4-1

         181.     Hayward re-alleges and incorporates by reference Paragraphs 1-180 above as if

fully set out herein.

         182.     Hayward and Leisure Living compete in the market for pool cleaners and other

pool equipment.

         183.     Leisure Living has engaged in trade or commerce in New Jersey, as described

above.



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        184.      Leisure Living has willfully and knowingly engaged in unfair acts or practices

and unfair methods of competition, including through the bad faith and unauthorized use of the

Hayward Marks, false advertising, counterfeiting, and passing off.

        185.      Leisure Living’s unfair acts or practices and unfair methods of competition are

likely to cause confusion, mistake, or deception as to the source or origin of the underwater pool

cleaners and other pool equipment and/or authorization or sponsorship by Hayward.

        186.      Leisure Living’s conduct has caused, and is continuing to cause, irreparable injury

to Hayward, including to its reputation and goodwill, and Hayward has no adequate remedy at

law. Unless such unauthorized use is enjoined, Hayward will continue to be irreparably harmed.

        187.      Leisure Living’s conduct, as described above, has been willful, wanton, reckless,

and in total disregard to Hayward’s rights.

        188.      By reason of Leisure Living’s misconduct, Hayward has suffered, and will

continue to suffer, monetary damages and loss of goodwill.

                                          COUNT XV
                         Trademark Infringement and Unfair Competition
                                under New Jersey Common Law

        189.      Hayward re-alleges and incorporates by reference Paragraphs 1-188 above as if

fully set out herein.

        190.      Hayward and Leisure Living compete in the market for pool cleaners and other

pool equipment.

        191.      Hayward has continuously and exclusively used in New Jersey and nationally the

Hayward Marks on and in connection with the sale of pool cleaners and other pool equipment at

least since 1998 or even earlier.




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        192.      Leisure Living has misappropriated the Hayward Marks by using them on, or in

connection with the sale of, unauthorized and materially altered pool cleaners and other pool

equipment.

        193.      Leisure Living also has committed false advertising, counterfeiting, and passing

off, as described above.

        194.      Leisure Living’s trademark infringement and unfair competition is likely to cause

confusion, mistake, or deception as to the source or origin of the pool cleaners and/or

authorization or sponsorship by Hayward and, as such, has diverted sales from Hayward.

        195.      Leisure Living’s conduct has caused, and is continuing to cause, irreparable injury

to Hayward, including to its reputation and goodwill, and Hayward has no adequate remedy at

law. Unless such unauthorized use is enjoined, Hayward will continue to be irreparably harmed.

        196.      Leisure Living’s conduct, as described above, has been willful, wanton, reckless,

and in total disregard to Hayward’s rights.

        197.      By reason of Leisure Living’s misconduct, Hayward has suffered, and will

continue to suffer, monetary damages and loss of goodwill.

                                           COUNT XVI
                                         Unjust Enrichment

        198.      Hayward re-alleges and incorporates by reference Paragraphs 1-197 as though

fully set forth herein.

        199.      As detailed above, Hayward expended considerable time and resources in

creating, developing and maintaining the Hayward Marks and the trademarked products. This

undertaking required considerable research, time, strategic planning, and evaluation of market

and economic trends, new technologies, innovations and their impact on the pool equipment

industry.

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          200.    By virtue of its significant efforts and labor, embodied in the Hayward Marks and

associated products, Leisure Living has profited from its sales of the “refurbished” or “repaired”

products under the Hayward Marks. As stated in full above, Leisure Living took its own parts,

materially altered the products, and sold them under the Hayward Marks, without authorization.

          201.    But for the benefit of the Hayward Marks and associated products, Leisure Living

would have had to expend considerable time and expense in independent research and

development of automatic pool cleaners and other pool equipment in order to enter the relevant

market and directly compete with Hayward.

          202.    Leisure Living has been unjustly enriched by retaining this benefit and profiting

from the Hayward Marks and associated products without providing Hayward any payment. As a

result of Leisure Living’s wrongful acts, Hayward has suffered and will continue to suffer

significant commercial, monetary and other damages.

                                         COUNT XVII
                      Copyright Infringement in Violation of 17 U.S.C. § 501
                           TX-8-880-012 (“Navigator Pro Sell Sheet”)

          203.    Hayward incorporates the allegations of Paragraphs 1-202 as if set forth fully

herein.

          204.    Hayward has compiled with all statutorily formalities of the Copyright Act with

respect to the registration of protectable elements of the work entitled “Navigator Pro Sell

Sheet,” which is the subject of U.S. Registration TX 8-880-012.

          205.    Leisure Living had access to Hayward's copyright-protected documents and

copied them by including them on its website (at www.poolsupplies.com) and in connection with

advertisements for Hayward pool equipment, as detailed above.




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          206.    Leisure Living’s infringing documents copied verbatim the copyrighted elements

embodied in U.S. Registration TX 8-880-012.

          207.    Such infringement of the Navigator Pro Sell Sheet, U.S. Registration TX 8-880-

012, includes Leisure Living’s copying of photographs, artwork, and text.

          208.    Hayward has never licensed or authorized Leisure Living to copy, reproduce, or

distribute the Navigator Pro Sell Sheet or any elements of U.S. Registration TX 8-880-012.

          209.    By reason of the foregoing, Leisure Living has infringed the Hayward Copyrights

in violation of 17 U.S.C. § 501.

          210.    Upon information and belief, Leisure Living’s infringement of the Hayward

Copyrights has been deliberate, willful, and in utter disregard of Hayward’s rights.

          211.    The illegal and unauthorized acts of Leisure Living alleged herein have caused

Hayward irreparable harm to its business and to the value of the Hayward Copyrights.

                                   COUNT XVIII
                 Copyright Infringement in Violation of 17 U.S.C. § 501
                                    TX 8-880-173
       (“Hayward Owner’s Manual 2 Wheel and 4 Wheel Suction Side Pool Cleaners”)


          212.    Hayward incorporates the allegations of Paragraphs 1-211 as if set forth fully

herein.

          213.    Hayward has compiled with all statutorily formalities of the Copyright Act with

respect to the registration of protectable elements of the work entitled “Hayward Owner’s

Manual 2 Wheel and 4 Wheel Suction Side Pool Cleaners,” which is the subject of U.S.

Registration TX 8-880-173.




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          214.    Leisure Living had access to Hayward's copyright-protected documents and

copied them by including them on its website (at www.poolsupplies.com) and in connection with

advertisements for Hayward pool equipment, as detailed above.

          215.    Leisure Living’s infringing works copied verbatim the copyrighted elements in

U.S. Registration TX 8-880-173.

          216.    Such infringement of U.S. Registration TX 8-880-173 includes Leisure Living’s

copying of artwork and text.

          217.    Hayward has never licensed or authorized Leisure Living to copy, reproduce, or

distribute Hayward’s U.S. Registration TX 8-880-173.

          218.    By reason of the foregoing, Leisure Living has infringed the Hayward Copyrights

in violation of 17 U.S.C. § 501.

          219.    Upon information and belief, Leisure Living’s infringement of the Hayward

Copyrights has been deliberate, willful, and in utter disregard of Hayward’s rights.

          220.    The illegal and unauthorized acts of Leisure Living alleged herein have caused

Hayward irreparable harm to its business and to the value of the Hayward Copyrights.

                                     COUNT XIX
                  Copyright Infringement in Violation of 17 U.S.C. §501
    TX 8-880-170 (“Hayward Owner’s Manual for AQUABUG/DIVER DAVE/WANDA
          WHALE/AQUACRITTER Above Ground Automatic Pool Cleaner”)

          221.    Hayward incorporates the allegations of Paragraphs 1-220 as if set forth fully

herein.

          222.    Hayward has compiled with all statutorily formalities of the Copyright Act with

respect to the registration of protectable elements of the work entitled “Hayward Owner’s

Manual for AQUABUG/DIVER DAVE/WANDA WHALE/AQUACRITTER Above Ground

Automatic Pool Cleaner,” which is subject to U.S. Registration TX 8-880-170.

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          223.    Leisure Living had access to Hayward's copyright-protected documents and

copied them by including them on its website (at www.poolsupplies.com) and in connection with

advertisements for Hayward pool equipment, as detailed above.

          224.    Leisure Living’s infringing works copied verbatim the copyrighted elements in

U.S. Registration TX 8-880-170.

          225.    Such infringement of U.S. Registration TX 8-880-170 includes Leisure Living’s

copying of photographs, artwork, and text.

          226.    Hayward has never licensed or authorized Leisure Living to copy, reproduce, or

distribute Hayward’s U.S. Registration TX 8-880-170.

          227.    By reason of the foregoing, Leisure Living has infringed the Hayward Copyrights

in violation of 17 U.S.C. § 501.

          228.    Upon information and belief, Leisure Living’s infringement of the Hayward

Copyrights has been deliberate, willful, and in utter disregard of Hayward’s rights.

          229.    The illegal and unauthorized acts of Leisure Living alleged herein have caused

Hayward irreparable harm to its business and to the value of the Hayward Copyrights.

                                    COUNT XX
                 Copyright Infringement in Violation of 17 U.S.C. §501
  TX 8-881-738 (“Hayward Owner’s Manual Perflex Extended Cycle Filtration System”)

          230.    Hayward incorporates the allegations of paragraphs 1-229 as if set forth fully

herein.

          231.    Hayward has compiled with all statutorily formalities of the Copyright Act with

respect to the registration of protectable elements of the work entitled ‘Hayward’s Owner’s

Manual Perflex Extended Cycle Filtration System,” which is subject to U.S. Registration TX 8-

880-738.


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          232.    Leisure Living had access to Hayward's copyright-protected documents and

copied them by including them on its website (at www.poolsupplies.com) and in connection with

advertisements for Hayward pool equipment, as detailed above.

          233.    Leisure Living’s infringing works copied verbatim the copyrighted elements in

U.S. Registration TX 8-881-738.

          234.    Such infringement of U.S. Registration TX 8-881-738 includes Leisure Living’s

copying of photographs, artwork, and text.

          235.    Hayward has never licensed or authorized Leisure Living to copy, reproduce, or

distribute Hayward’s U.S. Registration TX 8-881-738.

          236.    By reason of the foregoing, Leisure Living has infringed the Hayward Copyrights

in violation of 17 U.S.C. § 501.

          237.    Upon information and belief, Leisure Living’s infringement of the Hayward

Copyrights has been deliberate, willful, and in utter disregard of Hayward’s rights.

          238.    The illegal and unauthorized acts of Leisure Living alleged herein have caused

Hayward irreparable harm to its business and to the value of the Hayward Copyrights.

                                         COUNT XXI
                      Copyright Infringement in Violation of 17 U.S.C. §501
                         TX 8-881-935 (“SharkVac Series Sell Sheet”)

          239.    Hayward incorporates the allegations of Paragraphs 1-238 as if set forth fully

herein.

          240.    Hayward has compiled with all statutorily formalities of the Copyright Act with

respect to the registration of protectable elements of the work entitled “SharkVac Series Sell

Sheet,” which is the subject of U.S. Registration TX 8-881-935.




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          241.    Leisure Living had access to Hayward's copyright-protected documents and

copied them by including them on its website (at www.poolsupplies.com) and in connection with

advertisements for Hayward pool equipment, as detailed above.

          242.    Leisure Living’s infringing works copied verbatim the copyrighted elements in

U.S. Registration TX 8-881-935.

          243.    Such infringement of U.S. Registration TX 8-881-935 includes Leisure Living’s

copying of photographs and text.

          244.    Hayward has never licensed or authorized Leisure Living to copy, reproduce, or

distribute Hayward’s U.S. Registration TX 8-881-935.

          245.    By reason of the foregoing, Leisure Living has infringed the Hayward Copyrights

in violation of 17 U.S.C. § 501.

          246.    Upon information and belief, Leisure Living’s infringement of the Hayward

Copyrights has been deliberate, willful, and in utter disregard of Hayward’s rights.

          247.    The illegal and unauthorized acts of Leisure Living alleged herein have caused

Hayward irreparable harm to its business and to the value of the Hayward Copyrights.

                                      COUNT XXII
                    Copyright Infringement in Violation of 17 U.S.C. §501
                                       TX 8-882-027
          (“Hayward Pool Vac XL, Navigator Pro, Pool Vac Classic, Owner’s Manual”)

          248.    Hayward incorporates the allegations of Paragraphs 1-247 as if set forth fully

herein.

          249.    Hayward has compiled with all statutorily formalities of the Copyright Act with

respect to the registration of protectable elements of the work entitled “Hayward Pool Vac XL

Navigator Pro, Pool Vac Classic, Owner’s Manual,” which is subject to U.S. Registration TX 8-

882-027.

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          250.    Leisure Living had access to Hayward's copyright-protected documents and

copied them by including them on its website (at www.poolsupplies.com) and in connection with

advertisements for Hayward pool equipment, as detailed above.

          251.    Leisure Living’s infringing works copied verbatim the copyrighted elements in

U.S. Registration TX 8-882-027.

          252.    Such infringement of U.S. Registration TX 8-882-027 includes Leisure Living’s

copying of artwork and text.

          253.    Hayward has never licensed or authorized Leisure Living to copy, reproduce, or

distribute Hayward’s U.S. Registration TX 8-882-027.

          254.    By reason of the foregoing, Leisure Living has infringed the Hayward Copyrights

in violation of 17 U.S.C. § 501.

          255.    Upon information and belief, Leisure Living’s infringement of the Hayward

Copyrights has been deliberate, willful, and in utter disregard of Hayward’s rights.

          256.    The illegal and unauthorized acts of Leisure Living alleged herein have caused

Hayward irreparable harm to its business and to the value of the Hayward Copyrights.

                                       COUNT XXIII
                     Copyright Infringement in Violation of 17 U.S.C. §501
          PA 2-248-359 (“AquaNaut 200 & 400 Automatic Suction Pool Cleaner Video”)


          257.    Hayward incorporates the allegations of Paragraphs 1-256 as if set forth fully

herein.

          258.    Hayward has compiled with all statutorily formalities of the Copyright Act with

respect to the registration of protectable elements of the work entitled “AquaNaut 200 & 400

Automatic Suction Pool Cleaner Video,” which is subject to U.S. Registration PA 2-248-359.



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          259.    Leisure Living had access to Hayward's copyright-protected documents and

copied them by including them on its website (at www.poolsupplies.com) and in connection with

advertisements for Hayward pool equipment, as detailed above.

          260.    Leisure Living’s infringing works copied verbatim the copyrighted elements in

U.S. Registration PA 2-248-359.

          261.    Such infringement of U.S. Registration PA 2-248-359 includes Leisure Living’s

copying of animation, script, editing, production, direction, and cinematography.

          262.    Hayward has never licensed or authorized Leisure Living to copy, reproduce, or

distribute Hayward’s U.S. Registration PA 2-248-359.

          263.    By reason of the foregoing, Leisure Living has infringed the Hayward Copyrights

in violation of 17 U.S.C. § 501.

          264.    Upon information and belief, Leisure Living’s infringement of the Hayward

Copyrights has been deliberate, willful, and in utter disregard of Hayward’s rights.

          265.    The illegal and unauthorized acts of Leisure Living alleged herein have caused

Hayward irreparable harm to its business and to the value of the Hayward Copyrights.

                                        COUNT XXIV
                      Copyright Infringement in Violation of 17 U.S.C. §501
                         TX 8-882-962 (“Owner’s Guide SandMaster”)

          266.    Hayward incorporates the allegations of Paragraphs 1-265 as if set forth fully

herein.

          267.    Hayward has compiled with all statutorily formalities of the Copyright Act with

respect to the registration of protectable elements of the work entitled “Owner’s Guide

SandMaster,” which is subject to U.S. Registration TX 8-882-962.




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          268.    Leisure Living had access to Hayward's copyright-protected documents and

copied them by including them on its website (at www.poolsupplies.com) and in connection with

advertisements for Hayward pool equipment, as detailed above.

          269.    Leisure Living’s infringing works copied verbatim the copyrighted elements in

U.S. Registration TX 8-882-962.

          270.    Such infringement of U.S. Registration TX 8-882-962 includes Leisure Living’s

copying of text and artwork.

          271.    Hayward has never licensed or authorized Leisure Living to copy, reproduce, or

distribute Hayward’s U.S. Registration TX 8-882-962.

          272.    By reason of the foregoing, Leisure Living has infringed the Hayward Copyrights

in violation of 17 U.S.C. § 501.

          273.    Upon information and belief, Leisure Living’s infringement of the Hayward

Copyrights has been deliberate, willful, and in utter disregard of Hayward’s rights.

          274.    The illegal and unauthorized acts of Leisure Living alleged herein have caused

Hayward irreparable harm to its business and to the value of the Hayward Copyrights.

                                        COUNT XXV
                     Copyright Infringement in Violation of 17 U.S.C. §501
                    TX 8-883-187 (“SharkVac by Hayward Owner’s Manual”)

          275.    Hayward incorporates the allegations of Paragraphs 1-274 as if set forth fully

herein.

          276.    Hayward has compiled with all statutorily formalities of the Copyright Act with

respect to the registration of protectable elements of the work entitled “SharkVac by Hayward

Owner’s Manual,” which is subject to U.S. Registration TX 8-883-187.




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        277.      Leisure Living had access to Hayward's copyright-protected documents and

copied them by including them on its website (at www.poolsupplies.com) and in connection with

advertisements for Hayward pool equipment, as detailed above.

        278.      Leisure Living’s infringing works copied verbatim the copyrighted elements in

U.S. Registration TX 8-883-187

        279.      Such infringement of U.S. Registration TX 8-883-187 includes Leisure Living’s

copying of text, photographs and artwork.

        280.      Hayward has never licensed or authorized Leisure Living to copy, reproduce, or

distribute Hayward’s U.S. Registration TX 8-883-187.

        281.      By reason of the foregoing, Leisure Living has infringed the Hayward Copyrights

in violation of 17 U.S.C. § 501.

        282.      Upon information and belief, Leisure Living’s infringement of the Hayward

Copyrights has been deliberate, willful, and in utter disregard of Hayward’s rights.

        283.      The illegal and unauthorized acts of Leisure Living alleged herein have caused

Hayward irreparable harm to its business and to the value of the Hayward Copyrights.

                                         COUNT XXVI
                   Tortious Interference with Prospective Economic Advantage

        284.      Hayward re-alleges and incorporates by reference Paragraphs 1-283 above as if

fully set out herein.

        285.      Through its trademark infringement, false advertising, counterfeiting and other

unfair competition, all as described above, Leisure Living has intentionally and improperly

interfered with Hayward’s prospective sales of automatic pool cleaners and other products to

consumers in New Jersey and elsewhere.



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        286.      By deceiving customers into believing that its automatic pool cleaning machines

are somehow a “Certified Refurbished,” “full testing that assures this product meets the same

functional standards as a new Hayward,” “repaired and/or restored to like-new state,” “verified

to work properly,” and “includes all essential parts, features and accessories as a new Hayward”

and includes a “2 year limited warranty,” or any other false or misleading claims that suggest

certification, authorization, or sponsorship by Hayward, Leisure Living has improperly diverted

sales from Hayward and has prevented Hayward from selling its genuine HAYWARD ®

automatic pool cleaning machines and other products to its customers.

        287.      But for Leisure Living’s wrongful conduct, Hayward likely would have made the

sales that Leisure Living actually made.

        288.      Leisure Living’s conduct has caused, and is continuing to cause, irreparable injury

to Hayward, including to its reputation and goodwill, and Hayward has no adequate remedy at

law. Unless such unauthorized use is enjoined, Hayward will continue to be irreparably harmed.

        289.      Leisure Living’s conduct, as described above, has been willful, wanton, reckless,

and in total disregard to Hayward’s rights.

        290.      By reason of Leisure Living’s misconduct, Hayward has suffered, and will

continue to suffer, monetary damages and loss of goodwill.

                                          COUNT XXVII
                                Tortious Interference with Contracts

        291.      Hayward re-alleges and incorporates by reference Paragraphs 1-290 above as if

fully set out herein.

        292.      Hayward has contracted with third parties to distribute Hayward pool equipment

to retailers for resale to various segments of the public. Such contracts contain restrictions on

distribution, as summarized above.

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        293.      Hayward warned Leisure Living about such restrictions. Nonetheless, knowing of

these restrictions, Leisure Living purchased from distributors Hayward products for resale and

concealed from the distributors how and where Leisure Living would resell the products. In fact,

Leisure Living resold Hayward products in ways that were not authorized. For example, Leisure

Living sold products in the U.S. that were limited to the Canadian market and also sold products

over the Internet that were designated for sale only in brick-and-mortar shops.

        294.      Leisure Living’s deceptive conduct has caused distributors to violate their

distribution agreements with Hayward.

        295.      Leisure Living’s conduct has caused, and is continuing to cause, irreparable injury

to Hayward, including to its reputation and goodwill, and Hayward has no adequate remedy at

law. Unless such unauthorized use is enjoined, Hayward will continue to be irreparably harmed.

        296.      Leisure Living’s conduct, as described above, has been willful, wanton, reckless,

and in total disregard to Hayward’s rights.

        297.      By reason of Leisure Living’s misconduct, Hayward has suffered, and will

continue to suffer, monetary damages and loss of goodwill.

                                     REQUEST FOR RELIEF

        Hayward respectfully asks this Court to enter judgment for Hayward and against Leisure

Living and to grant the following relief:

        A.        Judgment in favor of Hayward and against Leisure Living on all counts;

        B.        An order under 15 U.S.C. § 1116 and/or other applicable law preliminarily and

permanently enjoining Leisure Living, including its officers, agents, employees, servants,

attorneys, successors, assigns, and all other persons and entities in privity and acting in concert

with Leisure Living, from the following acts:


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                  i.     falsely and misleading advertising its pool cleaners and other products,

        including claiming that they are “HAYWARD® AQUABUG®, NAVIGATOR®,

        SHARKVAC BY HAYWARD®, AQUANAUT® and T-CELL-15®” or any other false or

        misleading claims that suggest certification, authorization, or sponsorship by Hayward;

                  ii.    infringing any of the Hayward Marks;

                  iii.   using any of the Hayward Marks, or any confusingly similar marks alone

        or in combination with other words, symbols, or designs, in connection with the

        manufacture, offer for sale, sale, or advertising of pool cleaners;

                  iv.    using any trade name, words, abbreviations, or any combinations thereof

        that would imitate, resemble, or suggest the Hayward Marks;

                  v.     passing off its pool cleaners (or HAYWARD® AQUABUG®,

        NAVIGATOR®, SHARKVAC BY HAYWARD®, and AQUANAUT® pool cleaners or

        T-CELL-15® salt cells that have been materially altered) as genuine or authorized

        HAYWARD® or under the Hayward Marks pool cleaners;

                  vi.    advertising or selling counterfeit HAYWARD® ASTROLITE™                pool

        AQUABUG®, NAVIGATOR®, SHARKVAC BY HAYWARD®, and AQUANAUT®

        pool cleaners or T-CELL-15® salt cells;

                  vii.   making any statement or representation that falsely designates or describes

        Leisure Living’s pool cleaners as authorized, certified, or sponsored by, or associated

        with, Hayward or that is likely to confuse consumers as to the source, affiliation, or

        sponsorship of such pool cleaners and/or other pool equipment; and

                  ix.    otherwise competing unfairly with Hayward with respect to the

        advertising and sale of pool cleaners designed as HAYWARD® AQUABUG®,


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        NAVIGATOR®, SHARKVAC BY HAYWARD®, and AQUANAUT® pool cleaners; and

        other Hayward pool products;

        C.        An order under 15 U.S.C. § 1116 and/or other applicable law preliminarily and

permanently directing Leisure Living, including its officers, agents, employees, servants,

attorneys, successors, assigns, and all other persons and entities in privity and acting in concert

with Leisure Living, to perform the following remedial measures:

                  i.     Providing notice to all customers and resellers of the “certified

        refurbished” Leisure Living pool cleaners bearing the HAYWARD® AQUABUG®,

        NAVIGATOR®, SHARKVAC BY HAYWARD®, and AQUANAUT® marks that such

        pool cleaners are not authorized or certified by Hayward;

                  ii.    Removing from all websites its false, deceptive and misleading advertising

        for Hayward’s pool cleaners and other Hayward pool equipment, as described herein;

                  iii.   Issuing a recall notice to all purchasers of Leisure Living’s “certified

        refurbished” pool cleaners in the United States and offering a full refund to any

        customers who purchased such pool cleaners;

                  vi.    Under 15 U.S.C. § 1118 and/or other applicable law, destroying all

        inventory of “certified refurbished” HAYWARD® AQUABUG®, NAVIGATOR®,

        SHARKVAC BY HAYWARD®, and AQUANAUT® or other Hayward products with the

        replaced or repaired parts and certifying to Hayward that such destruction has occurred,

        including the number of units destroyed and the manner of their destruction; and

                  v.     Within thirty (30) days, providing to Hayward a sworn statement as to

        how it has complied with the Court’s orders




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        D.        An award of damages under 15 U.S.C. § 1117, and/or other applicable law,

including, without limitation, disgorgement of profits, lost profits, and/or any other damages

sufficient to compensate Hayward for Leisure Living’s trademark infringement, false

advertising, counterfeiting, passing off, unfair competition, and false designation of origin;

        E.        An accounting to determine the proper amount of damages;

        F.        A three-fold increase in damages under 15 U.S.C. § 1117 and/or other applicable

law, for Leisure Living’s willful, wanton, and deliberate acts of infringement and unfair methods

of competition and deceptive practices;

        G.        An award pursuant to 15 U.S.C. § 1117 and/or other applicable law of costs and

pre- and post-judgment interest on Hayward’s compensatory damages;

        H.        An award pursuant to 15 U.S.C. § 1117 and/or other applicable law of statutory

damages;

        I.        Pursuant to 15 U.S.C. § 1117 and/or other applicable law, an award of reasonable

attorneys’ fees and the costs of this action;

        J.        A finding that Leisure Living infringed each of the Hayward Copyrights in the

brochures, user manuals, technical specification sheets, marketing materials, instructional videos,

and warranties for the NAVIGATOR®, SHARKVAC BY HAYWARD®, AQUANAUT®,

AQUABUG®, PERFLEX®, and AQUARITE® products;

        K.        An order that Leisure Living, its directors, officers, agents, servants, employees,

and all other persons in active concert or privity or in participation with it, be temporarily,

preliminary, and permanently restrained and enjoined from directly or indirectly infringing the

Hayward Copyrights;




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          L.      An award of statutory damages pursuant to 17 U.S.C. § 504(c) for Leisure

Living’s willful infringement, or in the alternative, such actual damages as it sustained as a result

of Leisure Living’s infringement of the Hayward Copyrights, as well as Leisure Living’s profits

attributable to their unlawful acts in violation of the Hayward Copyrights pursuant to 17 U.S.C. §

504(b);

          M.      An order that Leisure Living immediately remove all infringing videos, graphics,

artworks, photographs in violation of the Hayward Copyrights;

          N.      An order under 17 U.S.C. § 502 and/or other applicable law preliminarily and

permanently enjoining Leisure Living from future copying of the material protected by the

Hayward Copyrights without Hayward’s permission; and

          O.      Such further relief as this Court deems just and proper to prevent the public from

deriving any erroneous impression that any products or advertising circulated or promoted by

Leisure Living are authorized by Hayward or related in any way to Hayward’s products.

                                          JURY DEMAND

          HAYWARD REQUESTS A TRIAL BY JURY ON ALL ISSUES SO TRIABLE.



Dated: July 29, 2020                           s/Scott S. Christie
                                               Scott S. Christie
                                               MCCARTER & ENGLISH, LLP
                                               Four Gateway Center
                                               100 Mulberry Street
                                               Newark, New Jersey 07102-4056
                                               Tel: (973) 622-4444
                                               schristie@mccarter.com

                                               Erik Paul Belt
                                               Anne E. Shannon
                                               MCCARTER & ENGLISH, LLP
                                               265 Franklin St.
                                               Boston, Massachusetts 02110

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                                   Tel: (617) 449-6500
                                   ebelt@mccarter.com
                                   ashannon@mccarter.com

                                   Attorneys for Plaintiff
                                   Hayward Industries, Inc.




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                   CERTIFICATION PURSUANT TO LOCAL RULE 11.2

        I certify that the matter in controversy is not the subject of any other action or proceeding

pending in any court, or of any pending arbitration or administrative proceeding.

Dated: July 29, 2020                          s/Scott S. Christie
                                              Scott S. Christie
                                              MCCARTER & ENGLISH, LLP
                                              Four Gateway Center
                                              100 Mulberry Street
                                              Newark, New Jersey 07102-4056
                                              Tel: (973) 622-4444
                                              schristie@mccarter.com

                                              Erik Paul Belt
                                              Anne E. Shannon
                                              MCCARTER & ENGLISH, LLP
                                              265 Franklin St.
                                              Boston, Massachusetts 02110
                                              Tel: (617) 449-6500
                                              ebelt@mccarter.com
                                              ashannon@mccarter.com

                                              Attorneys for Plaintiff
                                              Hayward Industries, Inc.




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                    CERTIFICATION PURSUANT TO L. CIV. R. 201.1

        Pursuant to Local Civil Rule 201.1, I hereby certify the above-captioned matter is not

subject to compulsory arbitration in that, inter alia, the Plaintiff seeks non-monetary injunctive

relief and the amount in controversy exceeds the $150,000 threshold exclusive of interest and

costs and any claim for punitive damages.

Dated: July 29, 2020                         /s/ Scott S. Christie
                                             Scott S. Christie
                                             MCCARTER & ENGLISH, LLP
                                             Four Gateway Center
                                             100 Mulberry Street
                                             Newark, New Jersey 07102-4056
                                             Tel: (973) 622-4444
                                             schristie@mccarter.com

                                             Erik Paul Belt
                                             Anne E. Shannon
                                             MCCARTER & ENGLISH, LLP
                                             265 Franklin St.
                                             Boston, Massachusetts 02110
                                             Tel: (617) 449-6500
                                             ebelt@mccarter.com
                                             ashannon@mccarter.com

                                            Attorneys for Plaintiff
                                            Hayward Industries, Inc.




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